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                   EXHIBIT K
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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK
  ---------------------------------------------------------------X
  MINHYE PARK,
                                     Plaintiff,                      PLAI FIRST
                          -against-                                  REQUEST FOR
                                                                     ADMISSION

  DAVID DENNIS KIM, M.D.
                                                                     Case No. 1:20-cv-02636
                                     Defendants
  ---------------------------------------------------------------X

         PLEAE TAKE NOTICE, that Plaintiff MINHYE PARK, by their attorneys, JSL LAW

 OFFICES, P.C., hereby demands that you produce within twenty days as follows:

                                               INTERROGATORIES


        1. The Defendant has no evidence to support the affirmative defense that the Plaintiff


  assumed the risk of her injuries.


        2. The Defendant has no evidence to support the affirmative defense that the Plaintiff was


 contributorily negligent, or that she failed to mitigate her damages.


        3. The Defendant has          


 case fails to state a claim upon which relief can be granted.


        4. The Defendant failed to remove the fetus from Plain     


 27, 2017 during the course of a medical procedure that Dr. Kim performed on the Plaintiff at


 Queens Surgical Care Center in Flushing, New York     
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 .


        5. The Defendant knew and/or should have known that the fetus was not successfully


 removed and left alive after the surgical procedure.


        6. The Defendant failed to inform the Plaintiff about the botched fetal surgery and the fetus


 left alive after the surgery on November 27, 2017. The Defendant only informed untruthfully the


 Plaintiff that she required an immediate re-surgery to remove debris     


 after the surgery.


        7. The Defendant failed to inform the Plaintiff that the fetus remained alive after the


 surgery on November 27, 2017 although the Plaintiff complained about severe pain and bleeding


 for about two (2) weeks after the surgery on November 27, 2017.


        8. The Defendant failed to inform the Plaintiff of the risks and procedures, including but


 not limited to, that the fetus was not removed and remained alive    .


        9. The Defendant failed to obtain an informed consent of the risks and procedures.

        10.                


 fetus, and failure to inform the fetus was left alive after the surgery on November 27, 2017 and


 the Plaintiff of any diagnose made, treatment prescribed, and risks and alternatives to said course
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 of treatment, the Plaintiff required immediate diagnoses at MIRAE and ROSEMOM, and a


 surgical care that was performed at ROSEMOM in South Korea.


        11. That the follow-up medical care the Plaintiff received by ROSEMOM was medically


 necessary and reasonable in light of the injuries the Plaintiff received during the operation


 performed by Defendant on or November 27, 2017.


        12.                 


 the Defendant, the Plaintiff required medical care and treatment from ROSEMOM, which


 included the removal of the alive fetus on or about December 27, 2017.


        13. The medical bills that were generated by the additional care the Plaintiff received


 following the failure to removal the fetus and left the fetus alive were fair and reasonable and

 directly related to the failure to remove the fetus.


        14. That the            


 treatment that she received from ROSEMOM relative to her injury at bar was unreasonable or


 unnecessary.


        15.              and


 care on or about December 19, 2017 that she received from MIRAE for a second opinion relative
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 to her injury at bar was unreasonable or unnecessary.


         16.              


 approximately $3,000.00 for an urgent flight ticket during the holidays peak time to South Korea


 as soon as the Defendant forced the Plaintiff to undergo an additional corrective surgery on or


 about December 17, 2017 were unfair, unreasonable, or inflated.


         17. That the Plaintiff was disabled from gainful employment due to the injuries sustained


 on November 27, 2017. Plaintiff started to work a part time job, 3-5 hours a day from December


 2020.


         18. That the Plaintiff earned approximately $22,000 per year in the year 2017.

         19. That the Plaintiff has a temporary and/or permanent injury as a direct result of the


              

         20. That the occurrence of the said incident was caused solely and wholly by Defendant,

 and/or each of them, their agents, servants, contractees, licensees, and/or employees, without any

 negligence on the part of Plaintiff contributing thereto. Defendants negligently, recklessly,

 carelessly, willfully and wantonly committed the following acts and omissions, amongst others:

         21. The Defendant failed to properly diagnosis; failed to proceed with the fetal surgery;

 failure to provide a general and medically accepted standard of care upon the Plaintiff that

 resulted in a botched fetal surgery and the fetus was not fully and successfully removed from the
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  omb; failure to properly inform the patient of the risks and procedures; failure to

 properly inform the patients of condition; failure to obtain an informed consent; failure to inform

 the patient of any diagnose made, treatment prescribed, and risks and alternatives to said course

 of treatment.

 Dated: Uniondale, New York
        February 9, 2021
                                                       Yours, etc.




                                                      Jae S. Lee, Esq.
                                                      JSL LAW OFFICE, P.C.
                                                      Attorneys for Plaintiff
                                                      626 RXR PLAZA
                                                      Uniondale, NY 11556
                                                      718) 461-8000


 To:   Heidell, Pittoni, Murphy & Bach, LLP
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                                    AFFIRMATION OF SERVICE


                                           Case No. 1:20-cv-02636

           I, Jae S. Lee, Esq., an attorney duly licensed to practice law in the Courts of the State of

    New York, alleges and affirms, under the penalty of perjury, the following

      On February 9, 2021, I served a true copy of the annexed   
 OF INTERROGATORIES by first class mail and email due to ongoing COVID-19 Pandemic.

 To:   Heidell, Pittoni, Murphy & Bach, LLP
       Attorneys for Defendant
       99 Park Avenue 7th Fl
       New York, New York 10016
       212-286-8585
       hnewman@hpmb.com




                                                       ________________________
                                                              Jae S. Lee, Esq.
